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      5   Attorneys for Plaintiffs
          MICHAEL NEVEU
      6
      7                          UNITED STATES DISTRICT COURT
      8             EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
      9
     10   MICHAEL NEVEU,                   ) Case No.: CIV-F-04-6490-OWW-LJO
                                           )
     11               Plaintiff,           )
                                           )
     12        v.                          ) STIPULATION AND ORDER
                                           ) CONTINUING DATES
     13   CITY OF FRESNO, a municipality;  )
          JERRY DYER, individually;        )
     14   MICHAEL GUTHRIE, individually;   )
          GREG GARNER, individually;       )
     15   DARREL FIFIELD, individually;    )
          MARTY WEST, individually; ROGER )
     16   ENMARK, individually; and DOES 1 )
          THROUGH 10,                      )
     17                                    )
                      Defendants.          )
     18                                    )
     19
                TO THIS HONORABLE COURT:
     20
                On May 7, 2006, this Court entered a scheduling conference order setting
     21
          the following dates:
     22
                Discovery Cut-Off:                             3/15/07
     23
                Non-Dispositive Motion Filing Deadline:        3/30/07
     24
                Dispositive Motion Filing Deadline:            4/16/07
     25
                Pre-Trial Conference Date:                     7/02/07
     26
                Trial Date:                                    8/21/07
     27
                The parties currently have depositions set for Plaintiff, as well as several
     28
          Defendants. However, Counsel for Plaintiff just experienced a death in the family
                                     STIPULATION AND [PROPOSED] ORDER

                                                    1

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      1   that will require him to travel back east for funeral services. Therefore, at least two
      2   of the scheduled depositions will have to be changed to different dates.
      3          Therefore, the parties respectfully request that this Court continue all of the
      4   existing aforementioned dates approximately 3 weeks to allow for the completion
      5   of discovery. There have been no other requests for continuances.
      6                                                  Respectfully submitted,
      7   Date: March ___, 2007                          LACKIE & DAMMEIER APC
      8
      9                                                  _____________________________
     10                                                  Michael A. McGill
                                                         Attorneys for Plaintiff
     11                                                  MICHAEL NEVEU
     12
     13   Date: March ___, 2007                          BETTS & WRIGHT
     14
     15                                                  _____________________________
                                                         Joseph D. Rubin
     16
                                                         Attorneys for Defendants
     17                                                  CITY OF FRESNO, ET AL.
     18   ----------------------------------------------------------------------------------------------------
     19                                                 ORDER

     20
                 GOOD CAUSE appearing, the Court orders that the new dates for this case

     21   are as follows:

     22          Discovery Cut-Off:                                      4/05/07
     23          Non-Dispositive Motion Filing Deadline:                 4/20/07
     24          Non-Dispositive Motion Filing Deadline:                 5/11/07
     25          Dispositive Motion Filing Deadline:                     5/07/07
     26          Dispositive Motion Hearing Date:                        6/04/07
     27          Pre-Trial Conference Date:                              7/23/07 at 11:00 a.m.
     28          Trial Date:                                             9/11/07 at 9:00 a.m.

                                       STIPULATION AND [PROPOSED] ORDER

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      1   IT IS SO ORDERED.
      2   Dated: March 8, 2007                         /s/ Oliver W. Wanger
                                                       Honorable Oliver W. Wanger
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                                  STIPULATION AND [PROPOSED] ORDER

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